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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            TERRE HAUTE DIVISION


ANTHONY CLAY,                             )
                                          )
                         Plaintiff,       )
                                          )
             v.                           )      2:05-cv-27-WGH-RLY
                                          )
SCHWAN’S HOME SERVICE, INC.,              )
                                          )
                         Defendant.       )


                          FINAL JUDGMENT ENTRY

      Final judgment is entered in favor of the defendant, Schwan’s Home

Service, Inc. Plaintiff Anthony Clay’s claims are hereby DISMISSED, with

prejudice.


Entered: August 23, 2006
                                                 _______________________________
                                                  WILLIAM G. HUSSMANN, JR.
                                                       Magistrate Judge


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